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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK



 CATHERINE KASSENOFF,
                                   Plaintiff,                 No. 22-CV-2162 (KMK)
        v.                                                             ORDER


 ALLAN KASSENOFF., et al.,
                                Defendants.


KENNETH M. KARAS, District Judge:

       At the Conference on June 15, 2022, the Court adopted the following schedule:

      Defendants shall file their Motion To Dismiss by July 1, 2022. Plaintiff shall respond by
August 15, 2022. Defendants shall reply by September 15, 2022.

        The Parties are also reminded that there is a strict page limit, which will be extended only
in extreme circumstances. If oral argument is requested, it may be scheduled by the Court.
Please wait to hear from the Court to schedule argument.



SO ORDERED.

DATED:         June 15, 2022
               White Plains, New York
                                                     ____________________________________
                                                     KENNETH M. KARAS
                                                     UNITED STATES DISTRICT JUDGE
